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                EXHIBIT B
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

CHRISTINE DE LEVA,

                  Plaintiff,

       v.                                           Case No. 8:21-cv-01820-DKC

LOWE’S COMPANIES, INC. and LOWE’S
HOME CENTERS, LLC,

                  Defendants.



                   DECLARATION OF DEREK RYAN BOSTELMAN

       I, Derek Ryan Bostelman, state as follows:

       1.     I make this Declaration of my own free will, based upon my personal knowledge

of the facts set forth below and review of Company records. I am over 18 years of age, and I am

competent to make this Declaration.

       2.     I have been employed by Lowe’s Home Centers, LLC (“Lowe’s”) since

November 2014 at the Frederick, Maryland store. In mid-November 2020, I was promoted to the

position of Assistant Store Manager - Merchandising. At that time, I began overseeing the

ProServices Department at the Frederick store.

       3.     In or about late December 2020 or January 2021, ProServices Sales Specialist

Jeffrey Nyswaner spoke with me about a pay increase. Mr. Nyswaner told me that his sales

numbers, and thus his compensation, were impacted by his scheduled hours of 9 AM to 6 PM.

Sales Specialists, including ProServices Sales Specialists, are eligible to receive incentive

compensation if they achieve certain sales numbers measured by sales entered using their

salesperson ID.
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       4.      Mr. Nyswaner had the least seniority in the ProServices Sales Specialist position

(by about 2 months compared to Christine De Leva) and thus was assigned more challenging

work hours from a sales perspective. The Frederick store opens at 6 AM Monday through

Saturday (8 AM on Sundays). Most ProServices customers tend to shop early in the morning

(e.g., around 7 or 8 AM), and the sales typically decline, often substantially, between 4 and 6

PM. The other two ProServices Sales Specialists at that time, Paul Lewis and Christine De Leva,

worked schedules of 6 AM to 3 PM and 7 AM to 4 PM respectively, which were more desirable

schedules from a sales and compensation perspective. As ProServices Sales Specialists are

eligible for incentive compensation based on their sales numbers as noted above, and as the

ProServices business declines later in the day, Mr. Nyswaner’s overall compensation was

negatively impacted by having to work the 9 AM to 6 PM schedule.

       5.      As I was unable to adjust Mr. Nyswaner’s hours because we needed one of the

ProServices Sales Specialists to work the 9 AM to 6 PM shift, I offered to increase his hourly

pay rate instead to attempt to make up for the loss of sales opportunities he faced with his later

shift. My decision to increase his pay was also based on my personal observation that Mr.

Nyswaner’s performance in the areas of assisting customers by pulling and preparing orders, and

assisting Lowe’s employees in other departments, exceeded the performance of the other two

ProServices Sales Specialists (and of many Sales Specialists in other departments). I entered Mr.

Nyswaner’s relevant educational and prior work experience information into Lowe’s Pay Rate

Advisor (“PRA”) application to determine a suggested increase.         Based upon his relevant

education and prior work experience, and using the PRA application, I determined that $22.05




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